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                            ‭UNITED STATES DISTRICT COURT‬‭‬
                               ‭DISTRICT OF CONNECTICUT‬‭‬


 ‭RALPH BIRCH, ‬                                          ‭ o. 3:20-CV-1790 (VAB) ‬
                                                          N
                                                          ‭[‬‭rel.‬‭No. 3:20-CV-1792] ‬
                          ‭Plaintiff, ‬
 ‭-against- ‬

 ‭TOWN OF NEW MILFORD et al.,‬
                                                          ‭July 14,‬‭2025‬
                          ‭Defendants. ‬


                                  ‭SATISFACTION OF JUDGMENT‬

       ‭Plaintiff Ralph Birch hereby gives notice that the judgment entered by the Court on‬

‭March 28, 2025, in the amount of $7,659,269.00 has been satisfied by Defendants Town of New‬

‭Milford and Robert Santoro as Administrator of the Estate of David Shortt, as of July 10, 2025.‬



‭Dated:‬        ‭July 14, 2025‬                      ‭ HE PLAINTIFF,‬
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                                                     ‭RALPH BIRCH‬

                                                     ‭ y:‬ ‭/s/ Douglas E. Lieb‬
                                                     B
                                                     ‭KAUFMAN LIEB LEBOWITZ‬
                                                      ‭& FRICK LLP‬
                                                       ‭David A. Lebowitz,‬‭pro hac vice‬
                                                        ‭Douglas E. Lieb (ct31164)‬
                                                         ‭Alyssa Isidoridy,‬‭pro hac vice‬
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                                                     ‭ IRSCHBAUM LAW GROUP,‬
                                                     K
                                                     ‭LLC‬
                                                      ‭Damon A. R. Kirschbaum (ct21216)‬
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